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  Exhibit C
  NJ Department of Homeland Security and Preparedness
  Terrorist Threat Assessment 2019
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             2019
              Terrorism Threat Assessment
              NEW JERSEY OFFICE OF HOMELAND SECURITY AND PREPAREDNESS




                                  UNCLASSIFIED
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      About Us


The New Jersey Office of Homeland Security and Preparedness (NJOHSP) is tasked with coordinating
counterterrorism, resiliency, and cybersecurity efforts across all levels of government, law enforcement, nonprofit
organizations, and the private sector. Created by Executive Order in 2006 when the Office of Counterterrorism
(OCT) merged with staff from the Domestic Security Preparedness Task Force (DSPTF), NJOHSP bolsters New
Jersey’s resources for counterterrorism, critical infrastructure protection, preparedness, training, and federal
grants management.

Shortly after the tragic events of September 11, 2001, New Jersey’s legislature and Governor passed and signed
the Domestic Security Preparedness Act, which created the DSPTF within the Office of the Attorney General.
In 2002, the Governor created the OCT by Executive Order, which remained under the Attorney General. OCT
provided New Jersey with a single agency to lead and coordinate New Jersey’s counterterrorism efforts with state,
local, and federal authorities and with the private sector.


Mission
NJOHSP leads and coordinates New Jersey’s counterterrorism, cybersecurity, and preparedness efforts while
building resiliency throughout the State.


Core Values
SERVICE. We put our State and its citizens first, and we put Mission before self. We take pride in being timely,
accurate, and relevant.


TEAMWORK. We stand with and behind each other. We recognize that partnerships, both internal and
external, are critical to achieving success. We cannot fulfill our Mission alone.


EXCELLENCE. We take great pride in the quality of our work. We do every task, every project, every
initiative, to the best of our ability.


DIVERSITY. We strive to build a workforce that is as diverse as New Jersey’s citizenry. We pride ourselves on
encouraging diversity of thought, perspective, and problem solving.


INTEGRITY. We are committed to holding ourselves accountable to the highest moral and ethical standards in
our personal and professional conduct. We can be relied upon to act with honor and truthfulness.
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       Foreword


                                In October, Robert Bowers targeted members of the Jewish community when he
                                entered a Pittsburgh synagogue and opened fire, killing 11 people and injuring
                                six. It was an attack not only toward members of that congregation, but also
                                against all citizens throughout the United States who should be able to go about
                                their daily lives without fearing for their safety at any event or venue.

                                The threat from individuals who similarly wish to do harm has hit home in New
                                Jersey as well. In May, NJOHSP detectives arrested and charged a sovereign
                                citizen extremist for the first time under a new State statute for filing fraudulent
                                liens. In October, an anti-government extremist transported explosive materials
                                through our State with the goal of conducting an attack on Election Day in
                                Washington, DC. That same month, Cesar Sayoc Jr. mailed Cory Booker and
                                15 other Democratic figureheads packages that contained improvised explosive
                                devices.

These incidents further demonstrate the wide-ranging ideologies associated with domestic terrorism and have
only further strengthened our Office’s resolve to protect the diversity that makes New Jersey so unique. As an
example, membership in the Interfaith Advisory Council increased more than 500 percent from the previous
year, and the partnerships developed between faith-based leaders and government representatives have resulted
in greater security and preparedness throughout New Jersey.

In the year ahead, NJOHSP will move forward in keeping all critical infrastructure across New Jersey
secure through trainings, resource availability, and grant opportunities. We will also continue developing our
relationships with public- and private-sector partners with intelligence products detailing current threats and
briefings relevant to a variety of audiences.

At NJOHSP, we remain committed to doing all that is necessary to make certain you and your families are safe
and secure. However, this can only be accomplished with your assistance. I ask that all residents and visitors
throughout New Jersey remain vigilant and “See Something, Say Something” by reporting suspicious activity at
1-866-4-SAFE-NJ or tips@njohsp.gov.



Sincerely,




Jared M. Maples
Director, NJOHSP
January 2019
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Information Cutoff: January 1, 2019



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     New Jersey’s Assessed
     Threat Level in 2019
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   Assessed Threat Level


 High                                             Homegrown Violent Extremists

                                                        Anarchist Extremists

                                                                  ISIS

Moderate                                                  Militia Extremists

                                                   Sovereign Citizen Extremists

                                                  White Supremacist Extremists

                                                               Al-Qa’ida

        o                                        Al-Qa’ida in the Arabian Peninsula

        o                                       Al-Qa’ida in the Indian Subcontinent

                                                Al-Qa’ida in the Islamic Maghreb

                                                              Al-Shabaab

                                                     Animal Rights Extremists

  Low                                                Anti-Abortion Extremists

                                                    Black Separatist Extremists

                                                             Boko Haram

                                                     Environmental Extremists

                                                               HAMAS

                                                               Hizballah

                                                         Lashkar-e-Tayyiba

                                                             Nusrah Front

                                                     Tehrik-e-Taliban Pakistan

                                                   Change from 2018
  Al-Qa’ida in the Arabian Peninsula (AQAP)
  The threat from AQAP decreased from moderate to low in 2019. AQAP continues to focus on local issues within Yemen,
  and drone strikes have nearly decimated much of the group’s command staff. Propaganda output has declined to nearly half
  of what it produced last year. AQAP has not successfully executed an attack in the West since the operation in January 2015
  against the offices of the satirical newspaper Charlie Hebdo in Paris.




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          2018 New Jersey
         Terrorism Timeline
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   2018 New Jersey Terrorism Timeline


                          February 14 Anti-Abortion Extremist: Marckles Alcius deliberately crashed
                          a stolen truck into a Planned Parenthood clinic in East Orange (Essex County),
                          injuring three people. Following his arrest, Alcius stated that he intentionally
                          conducted the attack and he was willing to die, according to the Essex County
                          Prosecutor’s Office. Additionally, investigators stated Alcius had conducted pre-
                          operational planning and researched several Planned Parenthood locations in New
                          Jersey, Rhode Island, and Massachusetts.




May 23 Sovereign Citizen Extremist: NJOHSP detectives arrested and charged
Courtney Alexander of Irvington (Essex County) on two counts of second-degree
fraudulent filings and one count of third-degree retaliation against a witness for
a prior incident. In 2015, Alexander placed fraudulent liens against two police
officers who issued him a traffic citation, as well as a local prosecutor and a
municipal judge assigned to the case. Alexander is the first New Jersey resident
charged under a new law for filing fraudulent liens.




                          July 28 Anti-Government Extremist: Authorities arrested Dereal Finklin of
                          Plainfield (Union County) for posting a picture of New Jersey Rep. Chris Smith
                          accompanied with a threatening message. Finklin posted the picture under
                          a Facebook alias, “Israel Bey,” and made a series of online death threats. On
                          October 19, Finklin pleaded guilty to fourth-degree cyber harassment.




October 9 Anti-Government Extremist: Authorities arrested Paul Rosenfeld for
plotting to detonate a 200-pound improvised explosive device (IED) on Election
Day in Washington, DC, in furtherance of his political views. Rosenfeld ordered
large quantities of black powder over the Internet, which he transported from
Bergen County in New Jersey to his residence in New York.




                           October 26 Anti-Government Extremist: Federal authorities arrested Cesar
                           Sayoc Jr. for mailing 16 packages containing IEDs to prominent figures and
                           supporters of the Democratic Party, including US Senator Cory Booker from
                           New Jersey. Sayoc’s charges include interstate transportation of an explosive,
                           illegal mailing of explosives, threats against former presidents and certain other
                           persons, threatening interstate communications, and assaulting federal officers.


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                                                                                       2019 Threat Assessment | 5
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         Homegrown Violent
         Extremists (HVEs)
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      HVEs: A Persistent Threat to New Jersey


HVEs will remain the highest threat to New Jersey due to their sustained support to foreign terrorist
groups, the unpredictability of attacks, and their susceptibility to online propaganda. In 2018, there were
seven individuals involved in attacks and plots nationwide and eight others charged with material support.

In December, federal authorities arrested Damon Joseph
of Holland, Ohio, for plotting to attack a synagogue in                   Understanding the HVE Threat
Toledo with two semi-automatic rifles. Additionally,               HVE support in the United States for foreign
Joseph produced and distributed ISIS propaganda online             terrorist organizations will remain unremitting,
to show his support for the group. In October, federal             despite a decline in HVE attacks and overall
authorities charged Ashraf al-Safoo with providing                 activity since 2015.
material support to ISIS. Safoo, a content producer                HVEs are individuals inspired—as opposed to
and leader of the English-language online media group              directed—by foreign terrorist organizations and
Khattab Media Foundation, helped to encourage ISIS                 radicalized in the countries in which they are born,
supporters across the globe to conduct violence in                 raised, or reside. These organizations continue to
ISIS’s name. In response to the arrest, Khattab Media              call for attacks in the West, despite the groups’
Foundation called for the beheading of the Special                 inability to execute large-scale attacks in recent
Agent in Charge of the Chicago FBI office.                         years.
In March, Florida authorities arrested Corey Johnson for
stabbing three individuals at an overnight party, killing
                                                                              Identified HVEs by Year*
                                                                   100
one and injuring two. According to Johnson, he planned
and carried out the stabbings because of his Muslim                             84
faith and because one of the victims, a 13-year-old,                80
had offended him with regard to his religious beliefs.
Prior to the party, he viewed violent jihadist videos and
                                                                    60
claimed support for Anwar al-Aulaqi. Authorities began
investigating Johnson a year prior for his extremist                                      43
beliefs and violent tendencies, including causing a bomb            40                              37
scare in the United Kingdom.

In June, authorities arrested Wisconsin resident Waheba         20                                                 15
Dais for facilitating recruitment and maintaining a
virtual library of instructions related to bomb-making,           0
biological weapons, poisons, and suicide vests. Dais                        2015          2016        2017       2018
attempted to encourage a person she believed to be                 *Due to the sensitivity of ongoing HVE investigations, this
                                                                    data only reflects publicly available information and may
an ISIS supporter to conduct an attack, providing
                                                                                       be subject to change.
instructions on how to make ricin and suggesting
targets. In May, authorities arrested Matin Azizi-Yarand
of Texas for plotting to conduct an attack at a mall, targeting a police officer and civilians. Azizi-Yarand claimed
he read online “ISIS magazine guides for performing operations and making bombs.”




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      HVE Attacks in 2018




                                       Wesley Ayers | Anderson County, South Carolina

                                       Between January 24 and February 24, Wesley Ayers placed seven
                                       improvised explosive devices (IEDs)—three of which were hoaxes—
                                       around Anderson County, South Carolina, injuring one. The IEDs
                                       were affixed and located with various images, including references
                                       to attacking the White House and documents pledging allegiance to
                                       ISIS. Ayers pleaded guilty in October to multiple charges related to the
                                       construction and use of weapons of mass destruction.




   Martin Farnsworth | St. George, Utah

   On March 5, Martin Farnsworth placed a backpack with an IED
   constructed using a metal soup can filled with shotgun shells inside his
   high school. The month prior to the incident, Farnsworth replaced the
   American flag at the school with an ISIS flag and spray-painted “ISIS
   is comi- [sic].” Farnsworth told authorities he wanted to join ISIS but
   did not know how. Authorities charged Farnsworth with attempted
   murder and use of a weapon of mass destruction.




                                       Corey Johnson | Palm Beach Gardens, Florida

                                       On March 12, Corey Johnson stabbed two juvenile males and a woman,
                                       killing one. Johnson claimed that one of the victims made fun of his
                                       Muslim faith and the other referred to celebrities as “gods.” According
                                       to one of the survivors, Johnson used to watch violent jihadist videos
                                       and even viewed some the night of the attack. Johnson’s mother stated
                                       he is “obsessed with dictator figures like Hitler, Stalin, and Kim Jung
                                       Un.” A year prior to the attack, Johnson claimed support to deceased
                                       al-Qa’ida in the Arabian Peninsula cleric Anwar al-Aulaqi.




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         Domestic Terrorism
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      Domestic Extremist Overview


Domestic extremists’ wide-ranging ideologies pose unique challenges to New Jersey and the surrounding
region, as they employ a variety of robust methods to conduct attacks, have varying motivations, and are
often willing to engage in violence. An NJOHSP review of domestic extremist incidents shows a decrease in
attacks from 23 in 2017 to 16 in 2018.

In October, federal authorities arrested and charged Cesar Sayoc Jr. in a 30-count indictment with offenses
relating to his mailing of 16 improvised explosive devices that targeted 13 former senior democratic
government officials and others, including US Senator Cory Booker from New Jersey. In February, New Jersey
authorities arrested and charged Marckles Alcius of Massachusetts with terrorism offenses for intentionally
crashing a stolen truck into a Planned Parenthood clinic in East Orange (Essex County), injuring three. Prior to
the attack, Alcius conducted pre-operational planning and researched several Planned Parenthood facilities in
other states.

On October 27, Robert Bowers, who posted online that Jews were bringing in “invaders that kill [white] people”
and that he could not “sit by and watch [white] people get slaughtered,” attacked a synagogue in Pittsburgh,
killing 11 and injuring at least six. For months before the shooting, Bowers posted anti-Semitic comments
online, including ones that referenced white genocide, which is the fear that the white race will become extinct
through forced assimilation.

In May, Jonathan Oddi walked into the Trump National Doral Miami, unfurled an American flag across the
lobby counter, fired shots into the ceiling, and got into a shootout with responding law enforcement. During
the attack, he went on a rant about President Donald Trump and former President Barack Obama. In October,
authorities arrested members of California-based militant white supremacist group the Rise Above Movement
(RAM) a year after attending the Charlottesville “Unite the Right” rally in order to incite a riot and assault
counter-protesters. RAM members allegedly traveled to several protests around the United States with the
purpose of engaging in violence with counter-protesters.

  Domestic terrorism is violence committed by individuals or groups—including anti-government, race-based,
  religious, and single-issue extremist ideologies—associated primarily with US-based movements.




       16
                             Domestic Extremist Attacks               Opportunistic vs. Planned Attacks


  domestic extremist
    attacks in 2018
                                       2
                                                    Race-Based



       16
                                                                                                  Opportunistic
                                9          5        Anti-Government          9         7
                                                                                                  Planned
                                                    Single-Issue

   deaths as a result
    of these attacks




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      Domestic Extremist Attacks in 2018

                                                              White Supremacist Extremist: Samuel Woodward, a
                                                              member of the Atomwaffen Division, fatally stabs Blaze
                                                              Bernstein at least 20 times and buries him at a park in
              January 2                                       California. Following the incident, Atomwaffen Division
                                                              members praise the attack online, stating that Woodward
                                                              is a “one man gay Jew wrecking crew.”

     White Supremacist Extremist: Ronnie Wilson, an
    alleged member of the Aryan Nation, opens fire with
   a shotgun on a police officer in Knoxville, Tennessee,                                  January 11
                                     during a traffic stop.


                                                              Sovereign Citizen Extremist: Tierre Guthrie, an
                                                              alleged member of the Moorish sovereign citizen
            February 9                                        movement, fires at officers serving an arrest warrant,
                                                              killing one and injuring two in Georgia. Officers return
                                                              fire, resulting in his death.

            Anti-Abortion Extremist: Marckles Alcius
         intentionally rams a stolen truck into a Planned
       Parenthood clinic in East Orange (Essex County),                                    February 16
                                           injuring three.


                                                              White Supremacist Extremist: John Carothers burns
                                                              a black man to death at a veterans’ assisted living
                                                              home in Murfreesboro, Tennessee. Following his
              March 17                                        arrest, Carothers writes a letter to a white supremacist
                                                              organization claiming he conducted the attack for race-
                                                              related reasons.


 Sovereign Citizen Extremist: David Wolosin shoots at
two police officers in Wyoming who attempted to talk to                                    May 6
 him, injuring one. Officers kill Wolosin in the shootout.


                                                              Anti-Government Extremist: Jonathan Oddi opens
                  May 18                                      fire at the Trump National Doral Miami, resulting in a
                                                              shootout with police.


 White Supremacist Extremist: Paul Farrow Jr., a self-
 described member of the Aryan Nation, punches a man
   after yelling racial slurs at him and telling him to “go                                May 31
    back to where he belongs” in Bloomington, Indiana.




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      Domestic Extremist Attacks in 2018


     White Supremacist Extremist: Kynan Dutton, the
  self-described leader of a Tennessee white supremacist
group, attacks a man at a pride festival he was protesting                                June 23
                                             in Knoxville.


                                                             White Supremacist Extremists: Six members of
                    July 7                                   Keystone United attack a black man and his friend at a
                                                             bar while shouting racial slurs in Pittsburgh.



Sovereign Citizen Extremist: Gregory Rodvelt booby-
  traps his home with explosives, which injures an FBI                                    September 7
  agent conducting a search of the residence in Oregon.



                                                             White Supremacist Extremist: Gregory Bush
            October 24                                       shoots and kills two black people at a supermarket in
                                                             Louisville.


 Anti-Government Extremist: Authorities arrest Cesar
  Sayoc Jr. for mailing 16 improvised explosive devices
   to prominent political figures, celebrities, and a news                                October 26
                         station across the United States.


                                                             White Supremacist Extremist: Robert Bowers kills
            October 27                                       11 people and injures at least six at a synagogue in
                                                             Pittsburgh.


  Anarchist Extremists: Tom Keenan and others Mace,
        punch, kick, and rob United States Marine Corps
 reservists in Philadelphia, calling them Nazis and white                                 November 17
                                            supremacists.


                                                             White Supremacist Extremists: Eight members of the
                                                             Aryan Brotherhood attack a black man at a club while
           December 8                                        shouting racial slurs and another man who came to his
                                                             defense in Lynnwood, Washington.




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      Anarchist Extremists Mobilize Against Perceived Injustices


Anarchist extremists will mobilize in response to issues they believe are unjust, carry out criminal and
violent acts during otherwise First Amendment-protected events and protests, and target perceived
enemies. Throughout 2018, anarchist extremists were actively engaged in criminal activities in the tri-state
region, resulting in at least 20 arrests.

In November, several hundred people, including a number
of individuals associated with anti-fascist (Antifa) anarchist
extremists, mobilized at the “We the People” rally in
Philadelphia, which they perceived as a white supremacist event.
That same month, an Antifa-related group, Smash Racism DC,
vandalized and protested outside the home of the founder of
the Daily Caller, stating that he was “promoting hate” and “an
ideology that has led to thousands of people dying.”

Following the “We the People” rally in Philadelphia in
November, a group of individuals, including anarchist                 A man holds an Antifa flag among counter-protesters
extremists, Maced, punched, and kicked US Marine Corps                   at the “We the People” rally in Philadelphia.
reservists not affiliated with the event while calling them “Nazis”
and “white supremacists.” In October, anarchist extremists protested outside a Proud Boys event in New York
City and engaged in acts of vandalism. After the event, one of the anarchist extremists threw a bottle at the
Proud Boys, resulting in a fight.

In June, a Nebraska-based anarchist extremist group tweeted a link to the names and photos of nearly 1,600
Immigration and Customs Enforcement (ICE) officials. Following the release, another individual disseminated
the names, pictures, and home addresses of seven ICE employees and their spouses in Oregon, stating, “It’s the
public’s right to know the faces of the gestapo and who is creating, enforcing, and filling concentration camps in
our name.”

          Antifa
                                             The red flag was one of the first anarchist symbols, used until the 1917 October
 Antifa is a movement that
                                             Revolution in Russia when it became primarily associated with communist
 focuses on issues involving
                                             ideologies.
 racism, sexism, and anti-
 Semitism, as well as other
 perceived injustices. The                   Since the late 19th century, anarchist groups have used the black flag as a rejection of
 majority of Antifa members                  the concept of representation or the idea that an institution can adequately represent
 do not promote or endorse                   a group of individuals.
 violence; however, the
 movement consists of
                                             Antifa consists of individuals who adhere to some form of the far-left school of
 anarchist extremists and
                                             thought, encompassing communists, anarchists, socialist groups, and others. Red
 other individuals who seek
                                             and black flags flying together represents coming together against a perceived
 to carry out acts of violence
                                             enemy.
 in order to forward their
 respective agendas.
                                                     Despite the unification of these groups under the banner of Antifa,
                                                         their ideological motivations will likely cause infighting.




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      Militia Extremists Organize Against Presumed Threats


Militia extremists across the United States will oppose unlawful immigration, attempt to intimidate
Muslims, and encourage violence at protests, a departure from previous encounters with the federal
government. Claiming that the “Deep State” is preparing for “illegitimate power,” one national militia group
announced it would organize training sessions across the country aimed at helping militia members prepare for
“lethal force” at various events.

As of December, several militia groups in Texas claim its members are patrolling the US-Mexico border
for people attempting to enter the country unlawfully. Elsewhere, a supporter from Oregon claimed to raise
approximately $4,000 for militias to buy supplies, arguing dangerous “unknown Middle Easterners” are heading
to the US-Mexico border.

In March, federal authorities charged three White Rabbit militia members for bombing a Minnesota mosque in
August 2017. One of the members told an FBI agent that he wanted to “scare [Muslims] out of the country.”
Upon further investigation, federal authorities found an email account allegedly associated with these members,
which they used to receive “missions” from “higher-ups.” The same individuals also attempted to bomb an
Illinois abortion clinic in November 2017.

In September, members of a Texas militia group protesting an Islamic Society of North America conference
in Houston clashed with counter-protesters, including members of the New Black Panther Party, resulting in
at least one injury. Prior to the event, members of the militia group openly discussed how to attack counter-
protesters online.




             Michael Hari, Michael McWhorter, and Joe Morris (from left),      Image on patch of White Rabbit militia
            militia members charged in bombing a Minnesota-based mosque




 According to the US Department of Homeland Security, militia extremists maintain a site on the Dark Web
 containing hyperlinks to manuals with instructions on how to build various weapons and explosives, army
 survival handbooks, and hacking guides.




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      Sovereign Citizen Extremists Largely Target Law Enforcement


Law enforcement remains the primary target of sovereign citizen extremists nationwide, as they threaten
to retaliate against those who challenge their ideology, stockpile weapons, and continue to attack police.
In 2018, sovereign citizen extremists conducted four attacks throughout the country, three of which targeted law
enforcement, using small arms and explosives as methods.

Over the past two years in New Jersey, there have been at least five cases of sovereign citizen extremists
verbally threatening police. During the same period, sovereigns both filed and threatened to file retaliatory liens
against law enforcement. In May, NJOHSP detectives arrested Courtney Alexander after a court indicted him on
two counts of second-degree fraudulent filings and one count of third-degree retaliation against a witness.

In June, Arizona Department of Public Safety troopers
arrested known sovereign citizen extremist Matthew
Wright for using an armored vehicle to block traffic near
the Hoover Dam in Nevada. Authorities found an AR-15
rifle, a handgun, multiple magazines of ammunition, and
an explosive device in the vehicle. In March, local police
in Missouri found a weapons cache, including an automatic
rifle without a serial number, when issuing a warrant to
the home of convicted felon and self-identified sovereign               Matthew Wright’s armored vehicle used to block
citizen Phillip Guidry, who claimed he “did not have to                   a bridge over the Hoover Dam in Nevada.
comply with the US government.”

In September, police charged Gregory Rodvelt, a sovereign citizen extremist involved in an armed standoff
with police in Arizona in 2017, with assaulting a federal officer after booby-trapping his home in Oregon with
explosives. In May, self-identified sovereign citizen David Wolosin died in a shootout with officers, injuring
two, when they responded to a complaint that he was teaching his 3-year-old child to drive in Wyoming. In
February, Tierre Guthrie, claiming to be immune from US law, also died in a shootout after killing an officer
and injuring two others who were attempting to serve a warrant at his residence in Georgia.

                               Sovereign Citizen Extremists in New Jersey
  Sovereign citizen extremists in New Jersey have mostly engaged
  in non-violent activity such as self-identifying in court paperwork
  and traffic stops and filing liens against public officials. In May
  2016, legislation in New Jersey enhanced penalties associated
  with the filing of fraudulent liens to retaliate against public
  officials. Sovereign citizens have since adopted new methods to
  circumvent the law.                                                      Examples of sovereign citizen “paper terrorism”

  Sovereign citizen extremists throughout the United States view federal, state, and local governments as
  illegitimate, lacking the authority to issue or enforce laws. They also assert they are not subject to law
  enforcement questioning or arrest, paying taxes and fines, complying with summonses, or possessing official
  licenses.




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      White Supremacists Rebranding Image


White supremacists nationwide are altering their public image to appear less extreme, leveraging
perceived fears, and rebranding in order to conceal their hate-driven ideology. Since late 2017, a new
generation of white supremacists has shifted from a national movement to disparate groups that concentrate on
the alleged political and social interests of the white race.

Formed in 2018, the New Jersey European Heritage Association (NJEHA) claims
to host “community clean ups” of local parks and historical monuments, as well
as participate in food and clothing drives. NJEHA promotes itself as a “grassroots
organization” that is bringing its ideology “into the public mainstream” in order to
enable its supporters to take “swift and immediate action . . . against the people who are
destroying [the white] race and civilization.”

Last year, approximately 65 percent of reported white supremacist propaganda
incidents in New Jersey contained references to white genocide, the belief that the
white race will become extinct due to forced assimilation, non-European immigration,
and interracial marriage. White supremacists use this belief to spread the fear that their       Flier found in Princeton
race will lose its superiority if supporters do not join them.                                       (Mercer County)

Patriot Front, an offshoot of Vanguard America, rebranded in August 2017 from a neo-Nazi organization to one
that reflected a skewed version of American white nationalism in order to appeal to a broad range of supporters.
Throughout the past year, members of the group blended iconic American symbols with white supremacist
imagery to alter the appeal of its website, social media accounts, and written propaganda.




                         Recruitment in New Jersey
 Over the last year, white supremacist organizations in New Jersey have actively
 attempted to spread their ideologies and recruit new members throughout the
 State.
 Since January 2018, there have been at least 46 reported instances of white
 supremacist propaganda distribution affiliated with six different groups in nine of
 New Jersey’s 21 counties.
 In at least 14 of those instances, white supremacists placed recruitment and
 propaganda fliers on multiple higher education institutions throughout New Jersey.
 The fliers included pictures of group activism and statements that either attempted to
 appeal to one’s European heritage or generate fear of a perceived injustice.


   The heat map displays 46 reported instances of white supremacist propaganda
   distribution in 2018. The number of fliers distributed during each instance ranged
   between one and 30.




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 International Terrorism
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      Al-Qa’ida in 2018: A Year in Review


Throughout the upcoming year, al-Qa’ida and its affiliates will focus on targeting Western interests
abroad, disseminating propaganda to its followers, and attempting to expand its operations in West
Africa. Al-Qa’ida has not attempted to attack the United States since an aviation plot in 2012.

Al-Qa’ida Core
Last year, al-Qa’ida leader Ayman al-Zawahiri called
on supporters to conduct attacks against America,
specifically targeting its interests in Northwest Africa.
On September 11, al-Qa’ida released a 30-minute video
speech with English subtitles called “How to Confront
America,” marking the 17th anniversary of the attacks
on the United States.

Al-Qa’ida in the Arabian Peninsula (AQAP)
AQAP lost a substantial number of fighters from drone
strikes despite a decrease from 125 in 2017 to 35 in
2018. The group exploited the civil war in Yemen
while sharing resources with its closest affiliate, al-
Shabaab, despite the declining health of its leader,                      Al-Qa’ida and its global affiliates
Qasim al-Rimi, and the death of chief bomb-maker
Ibrahim al-Asiri. This is the first year AQAP has not released its English-language magazine, Inspire, since the
publication’s inception, as well as any substantial written propaganda that is the hallmark of the group.

Al-Qa’ida in the Islamic Maghreb (AQIM)
Following its merge in 2017 with several other factions in the Sahel region, AQIM focused on operations in
Mali, Mauritania, Libya, Tunisia, and Niger. Attacks conducted in 2018 mainly involved improvised explosive
devices or suicide bombings targeting police and government elections in Mali and Tunisia. In October, a
female suicide bomber attacked Tunisia’s capital, injuring nine. In November, two Malian soldiers were killed
and another injured in an attack on a checkpoint in the Segou Region of Mali.

Al-Qa’ida in the Indian Subcontinent (AQIS)
AQIS continues to serve as the hub of jihadist groups in Afghanistan, Pakistan, India, Burma, and Bangladesh.
The group fights with its ally, the Taliban in Afghanistan. In May, the US military confirmed that it killed leader
Hazrat Abbas and his bodyguard in an airstrike in Afghanistan. Abbas served as a senior commander for both
AQIS and Tehrik-e-Taliban Pakistan.

Al-Shabaab
In 2018, the East African affiliate of al-Qa’ida remained active in Somalia as it sought to keep a foothold in
other neighboring countries, such as Kenya, Ethiopia, and Djibouti. The group continued to target government
officials, the military, police, journalists, and foreign aid workers in Somalia and Kenya. As a result, the United
States remained consistent with the number of strikes in 2017 and 2018, totaling approximately 40.




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      ISIS Enters Its ‘Post-Caliphate’ Strategy


In 2019, ISIS will maintain its insurgency in Iraq and Syria, support its global affiliates, and attempt to
inspire attacks through propaganda dissemination. After almost a year of silence from ISIS’s leader, Abu
Bakr al-Baghdadi, the group released an audio message from him attempting to encourage lone acts of violence
and urge followers to conduct simple attacks using knives, firearms, bombs, or personal vehicles.

Since declaring its purported caliphate in 2014, ISIS has lost the majority of its territory in Iraq and Syria and
the US-led coalition has forced the group into the Euphrates River Valley between the two countries where
it has historically operated. In order to survive, the group is conducting “guerrilla-style” hit-and-run tactics
targeting government forces, local communities, and opposition groups. As of October, ISIS is “trying to disrupt
civilian services, like water and electricity, to try to get the people against the government,” according to a
spokesperson for the US-led military coalition against the terror group.

Amaq News, ISIS’s official news agency, repeatedly claims responsibility for its affiliates’ attacks to encourage
sympathizers to support it. Over the last year, ISIS has released videos entitled “Harvests of the Soldiers,” with
statistics related to its operations, detailing the casualties and equipment losses of its enemies, attempting to
highlight a global reach.

In October, ISIS released the eighth iteration of its English-language video series, “Inside the Caliphate.” In the
video, ISIS calls on sympathizers to conduct attacks in its name and to assist in the creation and dissemination
of its propaganda online. In November, Hassan Khalif Shire Ali stabbed three individuals, killing one, in
Melbourne, Australia. Ali previously attempted to travel to join ISIS in Syria in 2015, but Australian authorities
revoked his passport.

                                                     ISIS and Its Global Affiliates




    1. ISIS Core (Iraq and Syria)                                         9. ISIS Yemen
    2. ISIS Sinai (Sinai Peninsula of Egypt)                              10. ISIS Saudi Arabia
    3. ISIS Egypt                                                         11. ISIS Caucasus (Northern Caucasus region of Russia between the Black
    4. ISIS Libya                                                             and Caspian seas)
    5. ISIS Tunisia (also referred to as Jund al-Khilafah-Tunisia)        12. ISIS Khorasan (Afghanistan and Pakistan)
    6. ISIS Algeria                                                       13. ISIS Bangladesh
    7. ISIS West Africa (primarily in Nigeria and the Lake Chad Region)   14. ISIS Philippines
    8. ISIS Somalia




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               Threats Facing
              First Responders
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      Threats Facing First Responders


Individuals carrying out violent attacks often indiscriminately kill and injure as many victims as possible,
including first responders, typically targeting specific locations to maximize their damage.

On November 7, Ian Long attacked a bar in Thousand Oaks, California,
while armed with a handgun, high-capacity magazines, and smoke grenades,
resulting in 12 deaths and 10 injuries. During the shooting, Long targeted
responding authorities using the laser sight and flashlight attached to his
handgun in the smoke-filled room.

On October 27, Robert Bowers, a white supremacist extremist, attacked
the Tree of Life Congregation Synagogue in Pittsburgh while armed with
a semi-automatic rifle and three handguns, killing 11 and injuring two.
Upon police arrival, Bowers exited the building and shot one officer before
                                                                                          The mission of the New
barricading himself inside the synagogue. During the standoff, Bowers
                                                                                          Jersey Regional Operations
injured an additional three officers.
                                                                                          Intelligence Center (ROIC) is
In August, Gregory Rodvelt, a sovereign citizen extremist, booby-trapped                  to interface with the New
his house with explosives, spring-loaded animal snares, and spike strips in               Jersey law enforcement
order to target authorities. An explosive trap detonated during a search of the           community and other law
residence on September 7, injuring one federal agent.                                     enforcement and homeland
                                                                                          security agencies by being
On June 25, Thomas Kim deliberately set off an improvised explosive                       a primary point of contact
device in his apartment complex in an effort to kill a neighbor he was                    for collection, evaluation,
disputing with in Long Beach, California. Following the explosion, Kim shot               analysis, and dissemination of
at responding firefighters, killing one and injuring another.                             intelligence data and criminal
These incidents serve as a small sample of the attacks first responders                   background information in a
encounter. Individuals first on scene are typically patrol officers,                      timely and effective manner in
emergency services personnel, or investigators rather than tactically                     order to detect and/or prevent
trained units. Responses to situations of this caliber require a highly                   criminal or terrorist activity
specialized skill set, as the circumstances of the situation and objectives               and to solve crimes.
of the attacker are largely unpredictable.



                        In January, the ROIC joined NJOHSP’s podcast, Intelligence. Unclassified., to discuss the mechanisms
                        of a fusion center, a joint interagency intelligence enterprise comprised of 175 personnel from various
                        law enforcement and public safety agencies. The ROIC is the State’s hub for intelligence and includes
                        input and personnel from agencies such as the FBI, US Department of Homeland Security, NJOHSP, and
                        numerous state, county, and municipal agencies. The ROIC is also the home for the Office of Emergency
                        Management and State Emergency Operations Center. For more information on this and other topics
                        related to counterterrorism, cybersecurity, and preparedness, visit www.njohsp.gov/podcast or subscribe
                        to the podcast on iTunes, Google Play, or your preferred podcast application.




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    Cybersecurity Threats
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      Cybersecurity Threats


Cybersecurity Threat Moderate; Convergence of Networked and Physical
Systems Creates Expanding Attack Surface
The New Jersey Cybersecurity and Communications Integration Cell (NJCCIC)
assesses that cyber threat actors pose a moderate threat to New Jersey. The
continued growth of IP-enabled devices for both personal and business uses will
result in an increased attack surface for threat actors to target, impacting attached
physical systems. While the intent of IP-enabled devices is to provide convenience,
add efficiencies, and deliver operational cost savings, inherent and unaddressed
security deficiencies will result in cyber attacks that will more frequently impact
physical controls, including public- and private-sector critical infrastructure
Operational Technologies (OT), Industrial Control Systems (ICS), and Supervisory
Control and Data Acquisition (SCADA) systems.

The availability of hacking tools and the increasing number of unsecured internet-connected devices reduces
the need for extensive technical skills to carry out successful cyber attacks that could disrupt New Jersey-
based cyber networks and physical systems. The result of such attacks can span the spectrum from minor
inconveniences to moderate disruptions of organizational operations to more severe threats to public health and
safety.

Phishing Campaigns Targeting Account Credentials Pervasive

Over the past year, phishing emails—specifically those with links or attachments containing malware designed
to steal the recipients’ credentials and further compromise their systems and networks—remained a prevalent
cyber threat across New Jersey. The NJCCIC received numerous reports regarding credential and network-wide
compromises resulting from the opening of malicious attachments and links included in unsolicited emails.
Such compromises often resulted in impacts to the affected organizations’ operations for weeks or months at a
time.

Threat actors are constantly devising ways to defeat technical controls such as mail filters. As such, subsequent
layers of defense, including user awareness and training, multi-factor authentication, and other security tools
and tactics, are necessary to protect users’ credentials and the systems and information they provide access to.
The NJCCIC strongly recommends never opening attachments or using links provided in unsolicited emails
to visit websites requiring the input of account credentials. Users who receive unexpected or unsolicited email
requests from known senders inviting them to click on a link or open an attachment should always verify the
sender via another means of communication before taking any action.




 Interested in membership? The NJCCIC derives its strength from the diversity and breadth of its
 membership network. Joining is free and carries no obligations. Visit www.cyber.nj.gov to learn more.




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                 SEE Something,
                 SAY Something
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      Security Starts with you

NJOHSP’s Hometown Security Initiative is designed to train and educate Main Street owners and
operators of facilities like restaurants, nightclubs, cafes, theaters, stores, and entertainment venues. Using
the “Connect-Prepare-Train-Report” model, this initiative is intended to inform the public on global intelligence
awareness, likely threat scenarios, protective security, and suspicious activity reporting. The program is being
implemented statewide to increase community resilience, readiness, and overall security.




                                                             1-866-4-SAFE-NJ




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      How to Report Suspicious Activity


Suspicious Activity Reporting

NJOHSP encourages law enforcement, first responders, and
private- and public-sector partners to report suspicious activity.
The “See Something, Say Something” campaign benefits
families, friends, and neighbors by bringing suspicious behavior
to the attention of law enforcement. Reporting suspicious
behavior could potentially stop the next terrorist incident. Even
if you think your observation is not important, it may be a piece
of a larger puzzle.


Public Engagement

Suspicious activity reports (SARs) have led to investigations
that thwarted several terrorist plots in the tri-state area. Read
the Suspicious Activity Reporting Success Stories to learn how
these reports helped detect and deter possible attacks.


Information Sharing

SARs are shared with law enforcement partners throughout the
State. The New Jersey Suspicious Activity Reporting System is
also linked to the FBI’s national system known as eGuardian,
which partners with the Nationwide SAR Initiative to form a
single repository accessible to thousands of law enforcement personnel and analysts nationwide.


Report Suspicious Activity

     1-866-4-SAFE-NJ (866-472-3365)               tips@njohsp.gov       njhomelandsecurity.gov/njsars

     “SAFE-NJ” Mobile SAR app is available on iTunes, Google Play, and Microsoft App Stores.




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      Eight Signs of Terrorism
        Suspicious activity is any observed behavior that could indicate terrorism or terrorism-related crime.


       Surveillance                                               Acquiring Supplies
Terrorists will likely observe a target during the         Terrorists may purchase or steal explosives, weapons,
planning phase of an operation. Suspicious actions         and ammunition, or attempt to store harmful chemical
during this phase may include someone photographing        equipment. They might also try to acquire uniforms,
or videotaping the target, recording or monitoring         equipment, or the identification of first responders and
activities, drawing diagrams or maps, using vision-        military personnel to gain entrance to secure areas.
enhancing devices, or possessing floor plans or            Other items of interest may be flight passes, passports,
blueprints of critical infrastructure, such as high-tech   or other types of identification. If they are unable
firms, financial institutions, or government facilities—   to obtain these items, they may attempt to create
including military installations.                          counterfeits.


       Gathering Information                                       Testing Security
Terrorists may also attempt to elicit information about    Terrorists may also test a target’s security. They
critical infrastructure by making unusual inquiries        may drive by a target, leave unattended or unusual
about operations, staffing, and security protocols.        bags or packages, access sensitive areas, or observe
Additionally, they may attempt to place people at key      security and law enforcement to assess response times.
locations to monitor day-to-day activities and gather      Terrorists may also attempt to penetrate physical
detailed knowledge in order to make their mission          security barriers to determine the strengths and
more effective.                                            weaknesses of a target.


       Dry Run / Rehearsal                                        Funding
Before executing the final operation or plan, terrorists   Although difficult to detect, funding is one of the most
may engage in multiple practice sessions or rehearsals     important signs of terrorism. Some scenarios to look
to uncover flaws or unanticipated problems. During a       for include credit card fraud, requests for donations to
rehearsal, terrorists may test their weapons, monitor      misleading charities, bulk purchases of cigarettes or
police radio frequencies, and record emergency             counterfeit goods, or very large amounts of cash used
response times.                                            in business transactions.


       People Who Do Not Belong                                   Deployment
Another pre-incident indicator is observing                Be aware of what looks like people and supplies
suspicious people who seemingly “don’t belong”             getting into position to commit an act of violence.
or demonstrate behavior that is out of place. This         There are still viable opportunities to stop an attack
may include a person at an event or in a workplace,        before it occurs. Do not attempt to intervene. For
building, or neighborhood who does not fit in because      emergency situations, call 9-1-1 immediately.
of their demeanor or the unusual questions they
ask. This could also include the impersonation of
law enforcement, military personnel, or company
employees. Remember, we do not profile individuals.
We profile behaviors.


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      Terrorism Definitions
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      Definitions


Al-Qa’ida (AQ) - Al-Qa’ida is an Islamist extremist organization founded in 1988 by Usama bin Ladin and
other Arab foreign fighters who fought against the Soviet Union in Afghanistan in the 1980s. It provides
religious authority and strategic guidance to its followers and affiliated groups.

Al-Qa’ida in the Arabian Peninsula (AQAP) - AQAP is an Islamist extremist organization based in Yemen.
It is al-Qa’ida’s most active global affiliate.

Al-Qa’ida in the Indian Subcontinent (AQIS) - AQIS is an Islamist extremist group that aims to fight the
governments of Pakistan, India, Burma, and Bangladesh to establish an Islamic state.

Al-Qa’ida in the Islamic Maghreb (AQIM) – AQIM was formed in 2007 and is al-Qa’ida’s North African
affiliate that aims to overthrow regional governments to institute an Islamic state. In March 2017, AQIM merged
with several other regional groups to form Jama’at Nasr al-Islam Wal Muslim.

Al-Qa’ida Network - The al-Qa’ida Network is a decentralized organization that relies on social ties and local
relationships to share resources among the affiliates.

Al-Shabaab - Al-Shabaab is an Islamist extremist organization founded in 2006 that seeks to establish an
austere version of Islam in Somalia and also operates in Kenya, Ethiopia, Tanzania, and Uganda.

Anarchist Extremists - Anarchist extremists advocate violence in furtherance of movements such as anti-
racism, anti-capitalism, anti-globalism, anti-fascism, and environmental extremism.

Animal Rights Extremists - Animal rights extremists believe all animals—human and non-human—have equal
rights of life and liberty and are willing to inflict economic damage on individuals or groups to advance this
ideology.

Anti-Abortion Extremists - Anti-abortion extremists are individuals or groups who believe abortion is
unethical and that violence is justified against people and establishments providing abortion services.

Anti-Government Extremists - Anti-government extremists believe the US political system is illegitimate and
force is justified to bring about change. This includes militia extremists and sovereign citizen extremists.

Black Separatist Extremists - Black separatist extremists are individuals or groups that seek to establish an
independent nation for people of African descent through violence and other criminal activity.

Boko Haram - Boko Haram is an Islamist extremist organization based in northeastern Nigeria, which also
conducts operations in Chad, Cameroon, and Niger.

Domestic Terrorism - Domestic terrorism is violence committed by individuals or groups—including anti-
government, race-based, religious, and single-issue extremist ideologies—associated primarily with US-based
movements.

Environmental Extremists - Environmental extremists view manmade threats to the environment as so severe
that violence and property damage are justified to prevent further destruction.




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      Definitions


HAMAS - HAMAS, an acronym for Harakat al-Muqawama al-Islamiyya, or the “Islamic Resistance
Movement,” founded in 1987, is an offshoot of the Palestinian Muslim Brotherhood that aims to end the Israeli
occupation of Palestinian territory and establish a Palestinian state.

Hizballah - Hizballah is an Islamist militant group based in Lebanon and allied with Iran.

Homegrown Violent Extremists (HVEs) - HVEs are individuals inspired—as opposed to directed—by foreign
terrorist organizations and radicalized in the countries in which they are born, raised, or reside.

ISIS - ISIS, also referred to as the Islamic State of Iraq and Syria, the Islamic State of Iraq and the Levant, the
Islamic State, or Daesh, is a Salafi-jihadist militant group that split from al-Qa’ida in 2014 and established its
self-proclaimed “caliphate,” claiming authority over all Muslims.

Lashkar-e-Tayyiba (LeT) - LeT is an Islamist extremist organization focused on attacking and expelling
Indians from Kashmir, a northern state in India that borders Pakistan and is home to a Muslim-majority
population.

Militia Extremists - Militia extremists view the federal government as a threat to the rights and freedoms of
Americans. They judge armed resistance to be necessary to preserve these rights.

Nusrah Front - Nusrah Front is a member of Hayat Tahrir al-Sham, a Salafi-jihadist militant group in Syria,
and is focused on overthrowing Syrian President Bashar al-Assad. In January 2017, the group broke official ties
from al-Qa’ida.

Race-Based Extremists - Race-based extremists seek to establish the superiority of one racial or ethnic group
over others through violence or other criminal activity. This includes white supremacist and black separatist
extremists.

Salafi-jihadism - Salafi-jihadism is an extreme interpretation of Islam in which individuals draw inspiration
from multiple foreign terrorist organizations.

Single-Issue Extremists - Single-issue extremists participate in violence stemming from domestic, political, or
economic issues. This includes animal rights, environmental, and anti-abortion extremists.

Sovereign Citizen Extremists - Sovereign citizen extremists throughout the United States view federal, state,
and local governments as illegitimate, justifying their violence and other criminal activity.

Tehrik-e-Taliban Pakistan (TTP) - TTP is an Islamist extremist organization seeking to overthrow Pakistan’s
government and expel US forces from Afghanistan.

Terrorism - Terrorism is the unlawful use of force and violence against persons or property to intimidate
or coerce a government, the civilian population, or any segment thereof, in furtherance of political or social
objectives.

White Supremacist Extremists - White supremacist extremists believe in the inherent superiority of the white
race. They seek to establish dominance over non-whites through violence and other criminal activity.




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          Terrorism-Related
              Products
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    Terrorism-Related Products



Domestic Terrorism
Anti-Government Extremists Threaten US Officials Online - https://bit.ly/2SUle2P
Domestic Terrorism in the US, 2017 - https://bit.ly/2qy1q8B

Extremists Exploit Security Positions - https://bit.ly/2Qs3D0I

Extremists’ Steadfast Intent to Target US Aviation - https://bit.ly/2JJpr5k

Female HVEs Likely to Play Supportive Role for ISIS - https://bit.ly/2DscLje

Homegrown Violent Extremists (HVEs) in the US, 2017 - https://bit.ly/2JNForh

Online Platforms Provide Refuge for White Supremacist Extremists - https://bit.ly/2PNwxeK

Recent White Supremacist Activity in New Jersey - https://bit.ly/2QxNRRO

Teen Accused of Plotting School Violence at a Graduation in Ocean County - https://bit.ly/2qAc0w2

White Supremacist Extremists Continue to Leverage Social Media - https://bit.ly/2z05kvw

White Supremacists Leveraging Military Expertise - https://bit.ly/2SOQm3Q

International Terrorism

Al-Qa’ida and ISIS Reference Guide - https://bit.ly/2qzOW04

Al-Qa’ida Leader Calls for Jihad Against America - https://bit.ly/2RIpUb0

Al-Qa’ida Supporters Target Women With Female-Focused Propaganda - https://bit.ly/2ATB86V
ISIS: Establishing a Foothold in Southeast Asia – https://bit.ly/2AS5eHK

ISIS Modifies Propaganda Strategy to Remain Relevant - https://bit.ly/2AQe8pg

ISIS Releases First Statement from Leader in Almost a Year - https://bit.ly/2JLIFr7

ISIS: Shifting Toward Regional Conflict - https://bit.ly/2DpeuWg

Nusrah Front Update – https://bit.ly/2ASK1NV

Toronto Vehicle-Ramming Attack - https://bit.ly/2JNDsiv

US Decision on Jerusalem Fuels Terrorist Groups - https://bit.ly/2DqkSg5

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      Terrorism-Related Products



  Select Podcasts

  Overview of the 2019 NJOHSP Terrorism Threat Assessment – https://bit.ly/2PQD0S2

  Active Shooter Threats - Response, Resources, and Resiliency – https://bit.ly/2PSj15C

  Extremists Exploiting Security Positions - https://bit.ly/2EF1zjw

  #HateHasNoPlaceInNJ - The NJOHSP Interfaith Advisory Council - https://bit.ly/2PLly17

  Secure the Shore: Keeping New Jersey’s Beaches and Boardwalks Safe - https://bit.ly/2LpBYMg

  The Shore Secured: A Discussion with Cape May County CTC Aaron Sykes - https://bit.ly/2LqR6J7

  Women and Terrorism: A Review of the Roles of Females in Homegrown Violent Extremism -
  https://bit.ly/2rN7ACx




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